            Case 3:18-cr-00874-JLS Document 1 Filed 02/15/18 PageID.3 Page 1 of 3
     ,,



 1

 2
                                                                                         18fEB 15 PM 4: 54
 3                                                                                            .      ,. ···-··rr,1c·r cuUi<1



                                                                                                                  --." '"
                                                                                       CL£i( ?,   U_<-'.--9.1.-;_~ 1 ~-nC',::'" c 1,UfURl't\.



                                                                                       ~:·=·~~
 4

 5

 6
                                          UNITED STATES DISTRICi COURT
                                                                             'f
 7                                                                            l
                                       SOUTHERN DISTRICT OF CALIFORNIA
 8
                               June 2017 Grand Jury                                    1 8 CR 0 8 7 4 JLS
 9   UNITED STATES OF AMERICA,           Case No.

10                                 Plaintiff,                   l   ~ Q II~ 1' MEN                      T
11              v.                                              Title 21, u.s.c., Sec. 843(b) - Use
                                                                of a Communication Facility in
12   JOHN NICHOLAS HERNANDEZ,                                   Furtherance of a Drug-Trafficking
       aka \\Hitman       11
                               ,
                                                                Offense; Title 21, U.S.C.,
13                                                              Sec. 853 - Criminal Forfeiture

14                                 Defendant.

15

16

17             The grand jury charges:

18                                                        Count 1

19             On    or   about       June      2,   2017,          within        the      Southern                        District                of

20   California,          defendant          JOHN    NICHOLAS          HERNANDEZ,                   aka              "Hitman",                    did

21   knowingly and intentionally use                        a       communication facility,                                        namely,          a

22   telephone, in committing, causing, and facilitating the commission of a

23   felony under Chapter 13,                   Subchapter I,           Title 21, United States Code,

24   that is, the possession with intent to distribute of heroin, a Schedule I

25   Controlled Substance,                 and methamphetamine,                    a     Schedule                     II          Controlled

26   Substance,           in        violation        of      Title           21,         United                      States                     Code,

27   Sections 841 (a) (1)             &   (b) (1) (C);     all in violation of Title 21, United

28   States Code, Section 843(b).
                                                                ,~
     PKM:nlv:San Diego:2/15/18
          cc : f...e+vi'c-e Se.vie.es
          Case 3:18-cr-00874-JLS Document 1 Filed 02/15/18 PageID.4 Page 2 of 3



 1                                          FORFEITURE ALLEGATION
 2          1.     The allegation contained in Count 1 is realleged and by its

 3   reference         fully    incorporated      herein       for     the   purpose   of   alleging

 4   forfeiture to the United States of America pursuant to the provisions

 5   of Title 21, United States Code, Section 853.
 6          2.     As a result of the commission of the felony offense alleged

 7   in Count      1 of        this   Indictment,    said violation being punishable by

 8   imprisonment for more than one year and pursuant to Title 21,                             United

 9   States Code, Sections 853(a) (1) and 853(a) (2), defendant JOHN NICHOLAS

10   HERNANDEZ, aka "Hitman", shall, upon conviction, forfeit to the United

11   States      all    his    rights,      title and       interest   in any and all property

12   constituting,        or derived from,          any proceeds         the defendant obtained,

13   directly or indirectly, ·as the result of the offense, and any and all

14   property used or intended to be used in any manner or part to commit and

15   to facilitate the commission of the violation alleged in Count 1 of this

16   Indictment.

17          3.     If    any of       the    above-described         forfeitable   property,    as   a

18   result of any act or omission of the defendant:

19                 a.         cannot be located upon the exercise of due diligence;

20                 b.         has been transferred or sold to,               or deposited with,      a

21   third party;

22                 c.         has been placed beyond the jurisdiction of the Court;

23                 d.         has been substantially diminished in value; or

24                 e.         has been commingled with other property which cannot be

25   subdivided without difficulty;

26   11
21   II
28
                                                        2
'
           Case 3:18-cr-00874-JLS Document 1 Filed 02/15/18 PageID.5 Page 3 of 3



     1   it is the intent of the United States,        pursuant to Title 21,       United

     2   States Code, Section 853(p), to seek forfeiture of any other property

     3   of the defendant up to the value of the property listed above as being

     4   subject to forfeiture.

     5   All in violation of Title 21, United States Code, Section 853.

     6        DATED:   February 15, 2018.

                                                      A TRUE BILL:

                                                        µvv-
     7

     8

     9                                                F6reperson
    10   ADAM L. BRAVERMAN
         United States Attorney
    11

    12   By~ P'.KEVINMOKiiTARI
    13       Assistant U.S. Attorney
    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                                3
